                                                                        Case 2:21-cv-04604-PA-SK Document 1 Filed 06/04/21 Page 1 of 5 Page ID #:1




                                                                         1   COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         2
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                                                                         4   Email: lenore.kelly@cdiglaw.com
                                                                             21515 Hawthorne Blvd., Suite 800
                                                                         5   Torrance, CA 90503
                                                                         6   Telephone: (424) 212-7777
                                                                             Facsimile: (424) 212-7757
                                                                         7

                                                                         8
                                                                             Attorneys for Defendant, COUNTY OF LOS ANGELES

                                                                         9
                                                                                                   UNITED STATES DISTRICT COURT
                                                                        10
                                                                                        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12   GARY SALZMAN, individually and as              CASE NO.21-CV-4604
                                                                             Successor-in-Interest to Gary Allen
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                                                            Action Filed: April 21, 2021
                              21515 HAWTHORNE BLVD., SUITE 800




                                                                             Salzman, Jr. (deceased),
                                 TORRANCE, CALIFORNIA 90503




                                                                        13
                                                                                                Plaintiff,
                                                                        14                                                  DEFENDANT COUNTY OF LOS
                                                                                          v.                                ANGELES’ REQUEST FOR
                                                                        15                                                  REMOVAL OF ACTION UNDER 28
                                                                        16   COUNTY OF LOS ANGELES; and                     U.S.C 1441(b) (FEDERAL
                                                                             DOES 1 through 50,                             QUESTION); DECLARATION OF
                                                                        17                   Defendants.                    LAURA E. INLOW
                                                                        18
                                                                                   PLEASE TAKE NOTICE that Defendant, County of Los Angeles, hereby
                                                                        19

                                                                        20   requests to remove to this Court the state court action described below, pursuant to
                                                                        21   the provisions of 28 U.S.C. § 1441(b), on the basis of a federal question as follows:
                                                                        22
                                                                                   1.     On April 21, 2021, an action was filed in the Superior Court of the
                                                                        23

                                                                        24   State of California in and for the County of Los Angeles entitled Gary Salzman,
                                                                        25   individually and as Successor-in-Interest to Gary Allen Salzman, Jr., vs. County of
                                                                        26
                                                                             Los Angeles, Case No. 21STCV14966. A true and correct copy of the complaint is
                                                                        27

                                                                        28   attached hereto as Exhibit “A”.
                                                                             ______________________________________________________________________________
                                                                                                                      -1-
                                                                                    DEFENDANT COUNTY OF LOS ANGELES REQUEST FOR REMOVAL
                                                                        Case 2:21-cv-04604-PA-SK Document 1 Filed 06/04/21 Page 2 of 5 Page ID #:2




                                                                         1         2.     The summons and complaint were served on Defendant on or about
                                                                         2
                                                                             May 14, 2021. As such, this Notice is timely pursuant to 28 U.S.C. Section
                                                                         3

                                                                         4   1446(b) as it is being filed before a responsive pleading was filed by Defendant

                                                                         5   and within thirty (30) days of the date that the Summons and Complaint were
                                                                         6
                                                                             served on Defendant.
                                                                         7

                                                                         8         3.     This action is a civil action of which this Court has original

                                                                         9   jurisdiction under 28 U.S.C. Section 1331 and is one which may be removed to this
                                                                        10
                                                                             Court by Defendant pursuant to 28 U.S.C. Section 1441 (b) in that it arises under
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12   42 U.S.C. Section 2000, et seq., and 42 U.S.C. Section 12101.
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13         4.     No further proceedings have been had in this matter in the Superior
                                                                        14
                                                                             Court of Los Angeles County –Central Judicial District, California.
                                                                        15

                                                                        16         5.     A true and correct copy of Defendant’s Request for Removal is being
                                                                        17   filed with the Clerk for the Superior Court of Los Angeles County – Central
                                                                        18
                                                                             Judicial District, California and served upon Plaintiff, as required by 28 U.S.C.
                                                                        19

                                                                        20   Section 1446(d). A copy of Defendant’s Notice to the Superior Court is attached
                                                                        21   hereto as Exhibit “B”.
                                                                        22
                                                                                   6.     The undersigned counsel for Defendant has read the foregoing and
                                                                        23

                                                                        24   signs this Notice of Request for Removal pursuant to Rule 11 of the Federal Rules
                                                                        25   of Civil Procedure as required by 28 U.S. C. Section 1446(a).
                                                                        26
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                                                                             ______________________________________________________________________________
                                                                                                                       -2-
                                                                                    DEFENDANT COUNTY OF LOS ANGELES REQUEST FOR REMOVAL
                                                                        Case 2:21-cv-04604-PA-SK Document 1 Filed 06/04/21 Page 3 of 5 Page ID #:3




                                                                         1         WHEREFORE, Defendant prays that Case No. 21STCV14966, now pending
                                                                         2
                                                                             in the Superior Court of the State of California for the County of Los Angeles, be
                                                                         3

                                                                         4   removed therefrom to this Court.

                                                                         5

                                                                         6   DATED: June 4, 2021             COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         7

                                                                         8                                   By:   /s/ Laura E. Inlow
                                                                                                                   Laura E. Inlow, Declarant
                                                                         9
                                                                                                                   Lenore C. Kelly, Esq.
                                                                        10                                         Attorneys for Defendant
                                                                                                                   COUNTY OF LOS ANGELES
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




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                                                                             ______________________________________________________________________________
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                                                                                   DEFENDANT COUNTY OF LOS ANGELES REQUEST FOR REMOVAL
                                                                        Case 2:21-cv-04604-PA-SK Document 1 Filed 06/04/21 Page 4 of 5 Page ID #:4




                                                                         1                       DECLARATION OF LAURA E. INLOW
                                                                         2         I, Laura E. Inlow, declare as follows:
                                                                         3
                                                                                   1.     I am an attorney at law, licensed to practice before the State and
                                                                         4

                                                                         5   Federal Courts of California. I am a partner at Collinson, Daehnke, Inlow &

                                                                         6   Greco, attorneys of record herein for Defendant, County of Los Angeles. I have
                                                                         7
                                                                             personal knowledge of the contents of this declaration and if called upon, I could
                                                                         8

                                                                         9   and would competently testify thereto.

                                                                        10         2.     Gary Salzman, individually and as Successor-in-Interest to Gary
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                             Allen Salzman, Jr., vs. County of Los Angeles, is a civil action of which this Court
                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800




                                                                             has original jurisdiction as it arises under the laws of the United States under 28
                                 TORRANCE, CALIFORNIA 90503




                                                                        13

                                                                        14   U.S.C. Sections 1331 and 1343. Furthermore, this is an action which may be
                                                                        15
                                                                             removed to this Court by Defendant pursuant to 28 U.S.C. 1441 (b) and (c) which
                                                                        16

                                                                        17   provide for the removal of any civil action without regard to citizenship or
                                                                        18   residence of the parties because the causes of action arise under 42 U.S.C. §1988.
                                                                        19
                                                                                   3.     I have been advised by the County of Los Angeles service was
                                                                        20

                                                                        21   affected on or about May 14, 2021.
                                                                        22         I declare under the penalty of perjury under the laws of the United States of
                                                                        23
                                                                             America and the State of California that the foregoing is true and correct.
                                                                        24

                                                                        25         Executed this 3rd day of June 2021, at Torrance, California.
                                                                        26

                                                                        27                                            /s/ Laura E. Inlow
                                                                                                                      Laura E. Inlow, Declarant
                                                                        28
                                                                             ______________________________________________________________________________
                                                                                                                        -4-
                                                                                    DEFENDANT COUNTY OF LOS ANGELES REQUEST FOR REMOVAL
                                                                        Case 2:21-cv-04604-PA-SK Document 1 Filed 06/04/21 Page 5 of 5 Page ID #:5




                                                                         1                            PROOF OF SERVICE
                                                                         2                           Salzman vs. County of Los Angeles

                                                                         3   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                         4
                                                                                   I am employed in the County of Los Angeles, State of California. I am over
                                                                         5   the age of 18 and not a party to the within action. My business address is 21515
                                                                         6   Hawthorne Blvd., Suite 800, Torrance, California 90503.

                                                                         7         On June 4, 2021 I served the following document described as: REQUEST
                                                                         8   TO REMOVE CASE TO FEDERAL COURT on all interested parties in this
                                                                             action by placing [X] a true copy [ ] the original thereof enclosed in sealed
                                                                         9   envelopes addressed as follows:
                                                                        10
                                                                                                              Plaintiff in Pro Per
                                                                        11                                       Gary Salzman
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                                               41029 172nd Street
                                                                        12                                    Lancaster CA 93535
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800




                                                                                                               Tel: 661-264-0906
                                 TORRANCE, CALIFORNIA 90503




                                                                        13

                                                                        14
                                                                                   [X]    (BY MAIL, 1013a, 2015.5 C.C.P.)
                                                                        15
                                                                                   [X] I am readily familiar with the firm’s practice for collection and
                                                                        16
                                                                             processing correspondence for mailing. Under that practice, this document will be
                                                                        17   deposited with the U.S. Postal Service on this date with postage thereon fully
                                                                             prepaid at Torrance, California in the ordinary course of business. I am aware that
                                                                        18
                                                                             on motion of the party served, service is presumed invalid if postal cancellation
                                                                        19   date or postage meter date is more than one day after date of deposit for mailing in
                                                                        20
                                                                             affidavit.

                                                                        21          [X] (FEDERAL) I declare that I am employed in the office of a member
                                                                             of the bar of this Court at whose discretion the service was made.
                                                                        22

                                                                        23
                                                                                   Executed on June 4, 2021 at Torrance, California.

                                                                        24

                                                                        25
                                                                                                                    /s/ Marianne M. Guillinta
                                                                                                                    Marianne Guillinta
                                                                        26

                                                                        27

                                                                        28
                                                                             ______________________________________________________________________________
                                                                                                                      -5-
                                                                                   DEFENDANT COUNTY OF LOS ANGELES REQUEST FOR REMOVAL
